Case 2:20-cv-11114-PA-ADS Document 12 Filed 12/17/20 Page 1 of 1 Page ID #:38




  1    CENTER FOR DISABILITY ACCESS
       Raymond Ballister Jr., Esq., SBN 111282
  2    Russell Handy, Esq., SBN 195058
       Dennis Price, Esq., SBN 279082
  3    Amanda Seabock, Esq., SBN 289900
       Mail: 8033 Linda Vista Road, Suite 200
  4    San Diego, CA 92111
       (858) 375-7385; (888) 422-5191 fax
  5    amandas@potterhandy.com
  6    Attorneys for Plaintiff
  7
                             UNITED STATES DISTRICT COURT
  8                         CENTRAL DISTRICT OF CALIFORNIA
  9    Orlando Garcia                                    Case: 2:20-cv-11114-PA-ADS
 10                Plaintiff,
 11       v.                                             Plaintiff’s Notice of Voluntary
                                                         Dismissal Without Prejudice
 12    Vayo Management, LLC, a California
 13    Limited Liability Company;
       Sunshine Distributors, Inc., a                    Fed. R. Civ. P. 41(a)(1)(A)(i)
 14    California Corporation

 15                Defendants.

 16
 17
               PLEASE TAKE NOTICE that Plaintiff Orlando Garcia, hereby
 18
      voluntarily dismisses the above captioned action without prejudice pursuant to
 19
      Federal Rule of Civil Procedure 41(a)(1)(A)(i).
 20
               Defendants Vayo Management, LLC and Sunshine Distributors, Inc. has
 21
      neither answered Plaintiff’s Complaint, nor filed a motion for summary judgment.
 22
      Accordingly, this matter may be dismissed without an Order of the Court.
 23
      Dated: December 17, 2020 CENTER FOR DISABILITY ACCESS
 24
                                              By: /s/ Amanda Seabock
 25                                                  Amanda Seabock
                                                     Attorneys for Plaintiff
 26
 27
 28


                                                     1

                   Plaintiff’s Notice of Voluntary Dismissal Without Prejudice Pursuant to
                                 Federal Rule of Civil Procedure 41(a)(1)(A)(i)
